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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


BMG RIGHTS MANAGEMENT                         )
(US) LLC, and ROUND HILL                      )
MUSIC LP                                      )
                                              )
               Plaintiffs,                    )
                                              )
       v.                                     )      Case No. 1:14-cv-1611(LOG/JFA)
                                              )
COX ENTERPRISES, INC.,                        )
COX COMMUNICATIONS, INC.,                     )
COXCOM, LLC                                   )
         Defendants.                          )
                                              )


                                             ORDER

       Having considered Plaintiffs BMG Rights Management (US) LLC, and Round Hill

Music LP’s (collectively “Plaintiffs”) Motion to File Electronic Copies of their Exhibits to their

Motion for Summary Judgment on CD, filed September 17, 2015, it is hereby ORDERED that

the Motion is GRANTED. Plaintiffs are permitted to file the exhibits to their summary judgment

motion on a CD, rather than through the Court’s Electronic Court Filing system (the “ECF”).



       It is so ORDERED this _________ day of _______________, 2015.



                                                     ________________________________

                                                     Judge for the Eastern District of Virginia
